                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

 UNITED STATES OF AMERICA                       )
                                                )        Case No. 1:15-cr-91
 v.                                             )
                                                )        Judge Travis R. McDonough
 TONY CARVER                                    )
                                                )        Magistrate Judge Susan K. Lee
                                                )


                                             ORDER



         Magistrate Judge Susan K. Lee filed a report and recommendation recommending that the

  Court: (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the thirty-

  two-count Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment;

  (3) adjudicate Defendant guilty of the charges set forth in Count One of the Indictment; (4)

  defer a decision on whether to accept the plea agreement until sentencing; and (5) order that

  Defendant remain in custody until sentencing in this matter. (Doc. 323.) Neither party filed a

  timely objection to the report and recommendation. After reviewing the record, the Court

  agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

  ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Doc. 323)

  pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)    Defendant’s motion to withdraw his not guilty plea to Count One of the

        Indictment is GRANTED;

        (2)    Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

        (3)    Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of

        the Indictment;



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       (4)    A decision on whether to accept the plea agreement is DEFERRED until sentencing;

       and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

       scheduled to take place on January 27, 2017 at 2:00 p.m. [EASTERN] before the

       undersigned.

    SO ORDERED.

    ENTER:

                                           /s/Travis R. McDonough
                                           TRAVIS R. MCDONOUGH
                                           UNITED STATES DISTRICT JUDGE




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